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              t         the united states district court
                       Fm'^HE DISTRICT OF MASSACHUSETTS

UNDER              "

     Plaintiff,
                                         Civil Action No:
V.

                                         FILED UNDER SEAL
UNDER SEAL
                                         DO NOT PLACE IN PRESS BOX
     Defendants.                         DO NOT ENTER ON PACER
                                         DEMAND FOR JURY
            Case 1:21-cv-10866-DJC Document 1 Filed 05/25/21 Page 2 of 42


              FILED
     IN CLERKS OPRK-p
                        IN THE UNITED STATES DISTRICT COURT
     2021 HAY 25 PM ficos the district of Massachusetts
UNITEB-MEroTcgPi^iMERICA,
       ex rS^Avf]C^sfONEBROOK
       Plaintiff and Relator,
                                                     Civil Action No:
V.

                                                     FILED UNDER SEAL
MERCK KGaA, DARMSTADT,
GERMANY; SIGMA-ALDRICH,
CORP.; MILLIPORESIGMA;                               DO NOT PLACE IN PRESS BOX
RESEARCH ORGANICS, LLC                               DO NOT ENTER ON PACER
                                                     DEMAND FOR JURY
       Defendants.




        COMPLAINT FOR VIOLATIONS OF FEDERAL FALSE CLAIMS ACT


       Relator David Stonebrook, on behalf of himself and on behalf of the United States of

America brings this gui tarn complaint against Defendants Merck KGaA, Sigma-Aldrich Corp.,

Millipore-Sigma, and Research Organics, LLC alleging violations of the False Claims Act (FCA).

                                 JURISDICTION AND VENUE


       1.       This action arises under the False Claims Act, 31 U.S.C. § 3729 etseq. (the "FCA")-

Specifically, Defendants caused the submission of false claims in violation of 31 U.S.C.

§3729(a)(l)(A). In so doing, Defendants made or used false records material to these false claims,

and knowingly concealed or knowingly and improperly avoided an obligation to pay or transmit

money or property to the United States.

       2.       Further, Defendants unlawfully retaliated against Relator in violation of 31 U.S.C.

§ 3730(h).

       3.       Accordingly, this Court has jurisdiction pursuant to 28 U.S.C. §1331. Jurisdiction

is also authorized under 31 U.S.C. § 3732(a).
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       4.      Venue lies in this judicial district pursuant to 31 U.S.C. § 3732(a), because

Defendants qualify to do business in the State of Massachusetts, transact business in the State of

Massachusetts, transact business in this judicial district, and can be found here.

                                             PARTIES


       5.      Defendant Merck KGaA, Darmstadt, Germany (Merck KGaA)' is a German

multinational company, headquartered in Darmstadt, Germany that operates across healthcare, life

sciences and performance materials.

       6.       Defendant Sigma-Aldrich Corp. is a subsidiary of Merck KGaA that specializes in

life sciences and is headquartered in St. Louis, Missouri. In November 2015, Defendant Merck

KGaA acquired Sigma-Aldrich Corp.                and began operating under the tradename

"MilliporeSigma."

       7.       Defendant MilliporeSigma is a trade name for Sigma-Aldrich Corp. and is a life

sciences company headquartered in Burlington, Massachusetts.              MilliporeSigma operates

Defendant Research Organics, LLC under the trade name SAFC Cleveland.

       8.       Defendant Research Organics, LLC dba SAFC Cleveland (SAFC Cleveland) is a

subsidiary of MilliporeSigma that manufactures, stores, packages, and supplies pharmaceutical

components and products. Research Organics, LLC is based in Cleveland, Ohio and operates a

pharmaceutical componentmanufacturing and packaging facility located at 4353 East 49th Street




^ Merck KGaA, Darmstadt, Germany—^the named defendant in this case—^uses the firm name
"Merck KGaA, Darmstadt, Germany" in the United States and Canada, and uses the firm name
"MilliporeSigma" in its life sciences operations. Merck KGaA, Darmstadt, Germany is not
affiliated with "Merck & Co., Inc." - which is a multinational pharmaceutical company - based in
the United States and operates under and owns the trademark name "Merck" in the United States
and Canada.
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in Cleveland, Ohio. Research Organics was founded in 1953 and acquired by Sigma-Aldrich,

Corp. in 2012—^thereafter operating under trade name SAFC Cleveland.

       9.      Relator David Stonebrook (Relator) has significant experience in Good

Manufacturing Practice (GMP) compliance, pharmaceutical manufacturing, pharmaceutical

packaging and pharmaceutical "cleanroom" environments.                Relator was employed by

MilliporeSigma at the SAFC Cleveland facility as GMP Packaging Supervisor from December 8,

2020 to March 3, 2021. In this role, Relator's duties included supervising packaging operations

to ensure adherence with safety and quality requirements, leading investigations in equipment

failure, foreignmaterialfindings and processdeviations to determine root causes, and representing

SAFC Cleveland's Packaging Department as a member of management during customer audits.

Further, Relator performed audits of packaging area and warehouse areas, performed daily review

of compliance documentation and communicated necessary changes to higher management and

corporate employees, including safety, equipment and regulatory concerns.

       10.      Relator alerted MilliporeSigma management to the extensive non-complaint

conditions at the SAFC Cleveland plant, and informed management that disregard for these non-

complaintconditionsposed a risk to patient safety and implicated both criminal liability under the

Food, Drug and Cosmetics Act and False Claims Act liability. As a result of these reports and

recommendations, Relator was terminated in violation of 31 U.S.C. 3730(h).

       11.      Prior to filing this Complaint, Relator voluntarily disclosed to the United States the

information upon which this action is based. Relator is unaware of any prior disclosure of any

information materially pertaining to the fraud alleged in this Complaint. To the extent that any

public disclosure has taken place as defined by 31 U.S.C. §3730(e)(4)(A), Relator is the original

source of the information for purposes of that Section. Relator has knowledge that is independent
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of and materially adds to any purported publicly disclosed allegations or transactions and has

voluntarily provided that information to the United States before filing this Complaint as

contemplated by 31 U.S.C. §3730(e)(4)(B)(2).


                                       APPLICABLE LAW


A.     The False Claims Act

        12.    The FCA, 31 U.S.C. §§ 3729-3733, provides, inter alia, that any person who: (1)

knowingly presents, or causes to be presented, a false or fraudulent claim for payment or approval;

(2) knowingly makes, uses, or causes to be made or used, a false record or statement material to a

false or fraudulent claim; or (3) knowingly makes, uses, or causes to be made or used, a false

record or statement material to an obligation to pay or transmit money or property to the

Government, or knowingly conceals or knowingly and improperly avoids or decreases an

obligation to pay or transmit money or property to the Government is liable to the United States

for a civil monetary penalty of not less than $5,500 and not more than $11,000, as adjusted by the

Federal Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public Law 104-

410 [1]), plus treble damages. 31 U.S.C. § 3729(a)(1)(A),(B), (G).

        13.     Under the FCA, (1) the terms "knowing" and "knowingly" (A) mean that a person,

with respect to information (i) has actual knowledge of the information; (ii) acts in deliberate

ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the truth or

falsity of the information; and (B) require no proof of specific intent to defraud. 31 U.S.C. §

3729(b)(1).

        14.     The FCA defines the term "claim" as (A) any request or demand, whether under a

contract or otherwise, for money or property and whether or not the United States has title to the

money or property, that (i) is presented to an officer, employee, or agent of the United States; or
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(ii) is made to a contractor, grantee, or other recipient, if the money or property is to be spent or

used on the Government's behalf or to advance a Government program or interest, and if the

United States Government (I) provides or has provided any portion of the money or property

requested or demanded; or (II) will reimburse such contractor, grantee, or other recipient for any

portion ofthe money or property which is requested or demanded. 31 U.S.C. § 3729(b)(2).

       15.     The FCA defines the term "obligation" as an established duty, whether or not fixed,

arising from an express or implied contractual, grantor-grantee, or licensor-licensee relationship,

from a fee-based or similar relationship, from statute or regulation, or from the retention of any

overpa5mient. 31 U.S.C. § 3729(b)(3).

       16.     Additionally, the FCA provides that any employee, contractor, or agent shall be

entitled to all relief necessary to make that employee, contractor, or agent whole, ifthat employee,

contractor, or agent is discharged, demoted, suspended, threatened, harassed, or in any other

manner discriminated against in the terms and conditions of employment because of lawful acts

done by the employee, contractor, agent or associated others in furtherance of an action under this

section or other efforts to stop 1 or more violations the FCA. See 31 U.S.C. § 3730(h).

B.     FDA Production and Packaging Requirements—^Which Defendants Violated
       Thereby Rendering Drugs Adulterated.

        17.    Pharmaceutical Quality affects every American, and therefore the FDA regulates

the quality and safety of pharmaceuticals carefiilly.

        18.    The FDA defines the term "drug," in part, as..."(A) articles recognized in the

official United States Pharmacopoeia, official Homoeopathic Pharmacopoeia ofthe United States,

or official National Formulary, or any supplement...and (B) "articles intended for use in the

diagnosis, cure, treatment, or prevention of disease in man or other animals; (C) articles (other

than food) intendedto affect the structureor any functionof the body ofman or other animals; and
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(D) articles intended for use as a 'component' of any [of the above] articles." 21 U.S.C. §

321(g)(1).

       19.     Therefore, the Components manufactured, stored and packaged at SAFC-

Cleveland—^many of which are recognized in the United States Pharmacopoeia—^are "drugs" as

defined by the FDA and must meet all FDA standards, regulations and requirements. If a drug

does not meet FDA standards related to proper and safe manufacture, storage and shipping, the

drug is deemed "adulterated." 21 U.S.C. § 351.

       20.     If a drug is "adulterated," the drug may not be sold, transported or received in the

United States and therefore may not be sold to the United States Government. 21 U.S.C § 331.

Knowingly selling an "adulterated" drug is a felony. 21 U.S.C. § 333(a)(2).

       21.     A drug shall be deemed to be adulterated "if it has been prepared, packed, or held

under insanitary conditions wherebyit may have been contaminated with filth, or whereby it may

have been rendered injurious to health." 21 U.S.C. § 351(a)(2)(A).

       22.     A drug shall also be deemed"adulterated if the methods used in, or the facilities or

controls used for, its manufacture, processing, packing, or holding do not conform to or are not

operated or administered in conformity with current good manufacturing practice to assure that

suchdrug meets the requirements of this chapter as to safety and has the identity and strength, and

meets the quality and purity characteristics, which it purports or is represented to possess." 21

U.S.C. § 351(a)(2)(B). In context of this statute, the term "current good manufacturing practice"

"includes the implementation of oversight and controls over the manufacture of drugs to ensure

quality, including managing theriskof and establishing the safety of rawmaterials, materials used

in the manufacturing of drugs, and finished drug products." 21 U.S.C. § 351(j).

       23.     Introducing adulterated and misbranded pharmaceutical products into the
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marketplace and knowingly selling adulterated and misbranded drugsto the United Stateshas been

the subject of numerous enforcement actions, including actions under the False Claims Act?
Accordingly, misrepresentations that pharmaceutical components were manufactured and

packaged in clean, safeand non-contaminated environments are material to payment and therefore

such a misrepresentation results in false claims. See Universal Health Services, Inc. v. U.S., 136

S.Ct 1989,2003 (2016).

               1.     Specific cGMP Requirements for Pharmaceutical Components.

       24.     The primary regulatory standards for ensuring pharmaceutical quality are the

Current Good Manufacturing Practice (cGMP) regulations, often simply called Good

Manufacturing Practice (GMP) regulations. GMPs require pharmaceutical manufacturers and

facilities that produce pharmaceutical components to provide assurance regarding the identity,

strength, quality and purity of drug products by establishing strong quality management systems,

obtaining appropriate quality raw materials, establishing robust operating procedures, detecting

and investigating product quality deviation, and maintaining reliable testing laboratories.

       25.     GMP regulations mandate specific requirements for pharmaceutical

"Components." 21 C.F.R. § 211.80.




^ The following cases demonstrate the Department of Justice has taken criminal action, and
pursued False Claims Act liability against pharmaceutical manufacturers that knowingly produce
products in contaminated environments and specifically mold infested air filtration systems,
similar to those at SAFC Cleveland. See United States ex rel. Christopher Wall v. Baxter
International, Inc. et al. No. 13cv42 (W.D.N.C.) Department of Justice Press Release "Baxter
Healthcare Corporation Pay More Than $18 Million to Resolve Criminal and Civil Liability
Relating to Sterile Products. Available at: https://www.iustice.gov/opa/pr/baxter-healthcare-
corporation-pav-more-18-million-resolve-criminal-and-civil-liabilitv.
See also United States ex rel. Eckard et al. v. Smith Kline Beechem d.b.a GlaxoSmithKline, PLC
et al. No. 1:04-cv-10375-JLT (D. Mass.)(GlaxoSmithKline subsidiary pled guilty to criminal
charges related to the manufacture and distribution of certain adulterated drugs and agreed to pay
$600 million to resolve related civil allegations under the False Claims Act.)
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       26.     "Components" are defined by the FDA as "any ingredient intended for use in the

manufacture of a drug product, including those that may not appear in such drug product." 21

C.F.R. § 210.3(b)(3).

       27.     Components are sometimes called "Ingredients," in FDA regulations. There are two

categories of components used in finished pharmaceutical production: inactive ingredient (often

called excipients) and active ingredient (often called active pharmaceutical ingredient (API)).

       28.     "Ingredients are drugs and drugs are required to conform with current good

manufacturing practice."^

       29.     "Ingredient manufacturers are responsible for the quality and safety of the material

they produce for use in finished pharmaceuticals.'"*

       30.     "Finished pharmaceutical manufacturers are also responsible for their selection,

qualification, and use of ingredients in finished pharmaceuticals."^

       31.     Specifically, cGMP regulations require that "there must be written procedures

describing in sufficient detail the receipt, identification, storage, handling, sampling, testing and

approval or rejection of Components." 21 C.F.R. § 211.80(a).

       32.     "Components shall at all times be handled and stored in a manner to prevent

contamination." 21 C.F.R. § 211.80(b).




^ U.S. "FDA Questions and Answers on Current Good Manufacturing Practices—Control of
Components and Drug Product Containers and Closures." Citing 21 U.S.C. § 351(a)(2)(B)
Available at https://www.fda.gov/drugs/guidances-drugs/questions-and-answers-current-good-
manufacturing-practices-control-components-and-drug-product
Ud.
^Id. citing 21 CFR part 211, subpart E
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       33.      "Each lot of a component that is liable to contamination with filth, insect

infestation, or other extraneous adulterant shall be examined against established specifications for

such contamination." 21 C.F.R. § 211.84(d)(5).

       34.      "Each lot of a component...with potential for microbiological contamination that

is objectionable in view of its intendeduse shall be subjectedto microbiological tests before use."

21 C.F.R.§ 211.84(d)(6).

C.     FDA Labeling Requirements—^Which Defendants Violated Thereby Rendering
       Drugs Misbranded.

       35.      The FDA requires that drug labeling must be truthful and not misleading.

       36.      If a drug's labeling is false or misleading, the drug is deemed "misbranded." 21

U.S.C. § 352.

       37.      Misbrandeddrugs may not be sold, transported or received in the United States and

therefore may not be sold to the United States Government. 21 U.S.C §331. Knowingly selling an

"adulterated" drug is a felony. 21 U.S.C. § 333(a)(2).

       38.      "The term "labeling" means all labels and other written, printed, or graphic matter

(1) upon any article or any of its containers or wrappers, or (2) accompanying such article." 21

U.S.C. §321 (m).

       39.      "If an article is alleged to be misbranded because the labeling or advertising is

misleading, then in determining whether the labeling or advertising is misleading there shall be

taken into account (among other things) not only representations made or suggested by statement,

word, design, device, or any combination thereof, but also the extent to which the labeling or

advertising fails to reveal facts materialin the light of such representations or materialwith respect

to consequences which may result from the use of the article to which the labeling or advertising




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relates under the conditions of use prescribed in the labeling or advertising thereof or under such

conditions of use as are customary or usual." 21 U.S.C. § 321(n).

D.       The United States' Purchase of Pfizer-BioNTech COVID-19 Vaccine.

         40.   On July 22, 2020, the U.S. Department of Health and Human Services (HHS) and

the Department of Defense (DOD) announced an agreement with U.S.-based pharmaceutical

company Pfizer Inc. for large-scale production and nationwide delivery of 100 million doses of a

COVID-19 vaccine in the United States following the vaccine's successful manufacture and

approval.

         41.   As a result of the July 2020 agreement, the federal government owned 100 million

doses ofthe Pfizer vaccine initially produced. The July 2020 agreement also established that, upon

gaining FDA approval, the Pfizer vaccine would be delivered throughout the United States.

         42.   HHS and DOD paid $1.95 billion for the production and nationwide delivery ofthe

first 100 million doses of the vaccine, with the ability to acquire up to an additional 500 million

doses.


         43.   On December 11, 2020, the FDA authorized the Pfizer-BioNTech Covid-19

Vaccine for emergency use and doses began shipping and being administered immediately.

         44.   On December 23, 2020, the United States—^through HHS and DOD—agreed to

purchase an additional 100 million doses of COVID-19 vaccine from Pfizer. Under this

agreement, Pfizer contracted to manufacture and deliver up to 100 million doses of its COVID-19

vaccine to Government designated locations. Pfizer agreed to deliver at least 70 million doses by

June 30, 2021 and the remainder of the 100 million doses would be delivered to the Government

no later than July 31, 2021. The December 23, 2020 agreement also included options for an

additional 400 million doses of the Pfizer vaccine.




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       45.     The Pfizer vaccine is provided at no cost to all Americans. Vaccine administration

costs for private-sector administration partners are covered by either private insurance. Medicare,

or Medicaid. For uninsured Americans, an HHS program reimburses providers at Medicare rates

from the provider relief fund.

       46.     On February 11, 2021, HHS and DOD purchased an additional 100 million doses

of COVID-19 from Pfizer, Inc. As of the February 11 agreement, the U.S. government had

purchased a total of 300 million doses of the Pfizer-BioNTech Covid-19 Vaccine, which were

scheduled to be delivered in regular increments through the end of July 2021.

       47.     Under these federal contracts, each dose ofthe Pfizer-BioNTech Covid-19 Vaccine

cost $19.50.

       48.     In total, as of February 2021, the U.S. Government has purchased approximately

$6 billion worth of the Pfizer-BioNTech Covid-19 Vaccine.

E.     The United States' Purchase of Moderna mRNA-1273 COVID-19 Vaccine.

       49.     On August 11, 2020, the U.S. Department of Health and Human Services (HHS)

and the Department ofDefense (DoD) announced an agreement with Moderna to manufacture and

deliver 100 million doses of Moderna's COVID-19 vaccine, called mRNA-1273. According to

this agreement, the federal government will own these 100 million vaccine doses.

       50.     If Modernamet timely shippingincentives, the federal governmentwould pay $1.5

billion^ to manufacture and deliver the vaccine doses to government-designated locations across

the country or roughly $15 per dose.




^Thispayment is in addition to $955 million that HHS paidto Moderna to help accelerate
development and large-scale manufacture of the Moderna mRNA-1273 vaccine.

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       51.     Pursuant to the August 11,2020 agreementwith Modema, the United States has an

option to acquire up to an additional 400 million doses of the vaccine.

       52.     On December 11, 2020, the United States, through HHS and DoD agreed to

purchase an additional 100 million doses of Modema's niRNA-1273 COVID-19 vaccine. Under

the agreement, Modema will leverage its U.S.-based manufacturing capacity to fill, finish and ship

vials of mRNA-1273 as the bulk material is produced.

       53.     To meet demand for its COVID-19 Vaccine, Modema partnered with

pharmaceutical manufacturer Lonza Ltd. to enable larger scale manufacture of Modema's

mRNA1273 COVID-19 vaccine. Lonza's COVID-19 Vaccine manufacturing includes a facility

in Portsmouth, New Hampshire that has capacity to produce 100 million doses of Modema's

mRNA1273 COVID-19 vaccine annually.

       54.     As of December 11, 2020, the United States owned 200 million doses of the

Modema mRNA-1273 COVID-19 vaccine.

       55.     Vaccine administration costs for private-sector administration partners will be

covered by healthcare payers: private insurance. Medicare or Medicaid, and an HHS program to

cover COVID-19 costs for the uninsured which is reimbursing the provider at Medicare rates from

the federally funded provider relief fund.

       56.     On Febmary 11,2021, the United States purchased an additional 100 million doses

ofthe Modema niRNA-1273 COVID-19 vaccine, bringing the U.S. government's confirmed order

commitment to 300 million doses. Subsequent to the initial 100 million doses, purchased by the

United States in August 2020 at roughly $15 per dose, Modema increased the cost charged to the

United States to $16,50 per dose.




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       57.      As of February 11, 2021, Modema supplied 41 million released doses of its

COVID-19 vaccine to the U.S. Government, and more than 22 million Americans had received

the Modema vaccine.


                   DEFENDANTS* FALSE CLAIMS ACT VIOLATIONS


A.     Defendants' Unsanitary, Contaminated and Non-Compliant Conditions.

       58.     Relator was hired as a OMP Packaging Supervisor at the SAFC Cleveland Facility

on December 8, 2020, In this role, Relator's duties included supervising packaging operations to

ensure adherence with safety and quality requirements, leading investigations in equipment failure,

foreign material findings and process deviations to determine root causes, and representing SAFC

Cleveland's Packaging Department as a member of management during customer audits. Further,

Relator performed audits of packaging areas and warehouse areas and performed daily review of

compliance documentation.

       59.     Upon starting in this role, Relator recognized that the SAFC Cleveland Facility was

far from GMP compliant and in fact did not even meet basic sanitary practices.

       60.     The significant deficiencies in the SAFC Cleveland Facility extend throughout the

facility's operations. However, as GMP Packaging Supervisor, Relator immediately focused on

correcting GMP violations in the Packaging operations.

       61.     One critical issue that Relator recognized was the unsanitary and mold infested air

handling systems at SAFC Cleveland.

       62.     Proper air handling systems are particularly important in pharmaceutical

manufacturing and packaging environments. Airborne pathogens and microbial contamination of

pharmaceutical products is a major concem and can easily contaminate pharmaceutical products,

thereby endangering patient safety.




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       63.       In Relator's experience in other pharmaceutical manufacturing and shipping

facilities, pharmaceutical grade air filtration systems should have HighEfficiency Particulate Air

(HEPA) filters. Moreover, it is axiomatic that air filtration systems are routinely monitored and

documented to prevent mold and contamination.

       64.       Not only did SAFC Cleveland not have appropriate HEPA filtration systems but

the outdated and over-taxed air filtration system was covered in mold and therefore simply

recycled contaminated air throughout SAFC Cleveland's Packaging Suites.

       65.       The SAFC Cleveland Facility has several Packaging Suites which SAFC Cleveland

misrepresents to be compliant with GMP controls. In these packaging suites, pharmaceutical

components are packaged. The packaging process generally involves unloading and sifting large

quantities of pharmaceutical components from large bulk containers and re-packaging those

components into smaller containers that ultimatelywill be deliveredto the customer. During this

process, the pharmaceutical components are exposed to the open air in these rooms for extended

periods. Therefore, air quality of the packaging clean rooms is paramount to prevent risk of

contamination.


       66.       The dust collection systems and ductwork in the SAFC Cleveland facilities

covering Packaging Suites D, E, and F arewoefully deficient. In fact, the filters and housing units

that comprise the dust collection system above Packaging Suites D, E, and F have an obvious

abundance of mold growth. Therefore, pharmaceutical product packaged within these rooms was

constantly exposed to mold infested air, despite MilliporeSigma's misrepresentations that the

facilities met GMP compliant standards. Photos of these mold infested dust collection filters are




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pictured     below,   with   increasing   magnification   demonstrating   mold   growth:



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       67.    The growth of mold in the dust collection system and throughout the Packaging

Suites at Cleveland is unsurprising because SAFC did not have adequate cleaning and sanitation

practices. Instead of carefully monitoring and documenting the sanitation and cleaning of the air

filtration systems and the packagingrooms as required, SAFC Cleveland staff often sprayed down

the Packaging Suites and equipment, including the air filters in the packaging rooms, with water.




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       68.    Mold growth is further caused by using water to spray down equipment in a

window-less, poorly ventilated indoor room.         These cleaning methods are grossly out of

compliance with appropriate GMP standards for the packaging and handling of Pharmaceutical

Components.

       69.    Additional facility and equipment deficiencies contributed to the contaminated

environment in the purportedly GMP Compliant Packaging Suites. For instance, the door between

the warehouse area and SAFC Cleveland's "small" packaging rooms—^where GMP products were

packaged—^was a simple wooden door with an approximately two-inch gap between the bottom

of the wooden door and floor.

       70.    In an actual GMP Compliant facility all entrances to a cleanroom would be

hermetically sealed and open only to enter or exit. This is required to prevent airflow from open

and contaminated areas outside of the clean room.

       71.    However, the entrances to the small packaging rooms were often left open. Even

when the doors were closed, the large 2-inch gap of each door allowed free air flow in and out of

the room—^promoting the flirther contamination and adulteration of drug product labeled GMP

compliant. A photo of the non-compliant work area is below:




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                                                     r«wTST5s?.^"




       72.    Additionally, SAFC Cleveland could not adequately monitor nor attempt to control

the contaminated facility because SAFC Cleveland did not have proper humidity and temperature

controls in its purported "small" packaging rooms.



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       73.    Humidityand temperaturecontrol is a fundamental requirementfor pharmaceutical

manufacturing or packaging facilities and GMP compliance.

       74.    SAFC Cleveland's deficient humidity and temperature control caused excess

moisture in the Packaging Suites and exacerbated the mold problems to the extent that excess

moisture caused water stains on the windows of Packaging Suites. These water stains are clear

indicators of excess moisture and probable mold infestation that can easily contaminate

pharmaceutical components. Below is a photo of such water stains:




       75.    Finally, the SAFC Cleveland facility did not even adequately clean its packaging

equipment and would leave residue of pharmaceutical components on equipment that would then

be used to package completely different components—inherently risking cross-contamination,

quality and purity of components. A photo of the "hopper" used to package bulk materials into



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separate     packages,   with    clear    adulterating   residue   is   pictured   below:




B.     Defendants' False Statements and Adulterated and Misbranded Pharmaceutical
       Components.

       76.     The SAFC Cleveland facility produces and packages hundreds of different

pharmaceutical components and sells these components to hundreds of customers to use as

ingredients in FDA-approved finished drug products.


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       77.       Relator witnessed that these products are held and packaged in the contaminated

environment described above, which are clearly insanitary conditions and woefully deficient from

GMP standards. Therefore, these products are "adulterated" and may not be introduced into

interstate commerce. 21 U.S.C. § 351(a)(2)(B); 21 U.S.C. § 331. However, Defendants falsely

label and falselyrepresentto customers that these productsare manufactured, stored and packaged

under safe and GMP Compliant controls. In so doing, these products are not only adulterated, but

also misbranded. 21 U.S.C § 352.

       78.       The following are examples of Adulterated and Misbranded products—^held and

packaged in SAFC Cleveland's xmsanitary and contaminated environment—specifically

Packaging Suites D, E, and F and the "small packaging suites"—^and sold to specific customers

pursuant to false representations.

             •   L-tyrosine, USP' was sold to multiple pharmaceutical companies, including

                 Genentech, Inc. These products have been sold to Genentech since January, 15,

                 2010.


             •   Calcium chloride dihydrate, USP was sold to multiple pharmaceutical companies,

                 including Boehringer Ingelheim. These products have been sold to Boehringer

                 Ingelheim since June 24, 2013.

             •   L-phenylalanine, USP was sold to multiple pharmaceutical companies, including

                 Becton Dickinson and Company. These products have been packaged at SAFC

                 Cleveland and sold to Becton Dickinson and Company since September 10, 2012.




' The denotation "USP" means the drug is listed in the United States Pharmacopeia and therefore
is undoubtedly defined as a "drug" by the FDA and must meet all FDA and GMP requirements.

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    A photo of Defendants falsely labeled L-phenylalanine, which falsely represents

    GMP compliance is below:




SAFC
                                       Lot • COBF3500

  Ifenyialanine
        Npnomoto EP. JP. USP. mmHaClixai
                           GMP controls for Pharma or
                                                      for eel oiJbjre




    Sodium phosphate monobasic monohydrate, USP was sold to multiple

    pharmaceutical companies, including Abbott Laboratories. This component was

    manufactured and packaged at SAFC Cleveland and sold to Abbott Laboratories

    since June 27, 2014.




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                                    SMC
                                    BtlamofrAKu*
                                    SodwmphoepHwle tnonotooa*
                                    pSStSoSSe. USP.
                                    app'Cipnate GMP control© forP"»"
                                     thd^armiibwiiiKdt prDducBon
                                     *«»




                                                                        f.




       1.      Defendants' False Statements and Adulterated Components Used in the
               COVID-19 Vaccines Purchased by the United States.

       79.    The most critical components manufactured and packaged in SAFC Cleveland's

contaminated conditions are those that are components for the respective Pfizer-BioNTech

COVID-19 Vaccine and Modema mRNA-1273 COVID-19 Vaccine.


               i.     SAFC Cleveland's Manufacture, Packaging and Sale of HEPES to
                      Pfizer for the Pfizer-BioNTech COVID-19 Vaccine.


       80.      SAFC Cleveland manufactures and packages HEPES, a zwitterionic sulfonic acid

buffering agent, that is used to maintain enzyme structure and help the enzyme function at low

temperatures. HEPES is sold directly from SAFC Cleveland to Pfizer.

       81.     As described above, the Pfizer COVID-19 Vaccine is critical to combatting the

COVID-19 Pandemic, and the United States has spent billions of dollars to purchase hundreds of

millions of doses of the Vaccine.


       82.     Relator has first-hand knowledge that the HEPES Components sold to Pfizer and

ultimately sold to the United States are adulterated becausethey were manufactured and packaged

in contaminated facilities at SAFC Cleveland. Specifically, the HEPES Components sold to

Pfizer, and ultimately the United States were packaged in SAFC Cleveland's contaminated


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packaging suites. Packaging Suite D is treated by the mold infested air filtration systempictured

above and is impacted by the other significant GMP violations detailed supra.

       83.       Relator has first-hand knowledge that the HEPES Components sold to Pfizer and

ultimately sold to the United States are misbranded because Defendants have falsely represented

that the HEPES Components sold to Pfizer are manufactured under proper controls. Specifically,

the SAFC Product Documentation for HEPES, Product Number RES6003H-B7—^which is the

product supplied to Pfizer for its COVID-19 Vaccine—clearly purports the product to be

"PharmaGrade, Manufactured under appropriate controls for use as a raw material in pharma or

biopharmaceutical production, suitable for cell culture."

       84.       The SAFC Product Regulatory Datasheet details that the site of Manufacturing,

Packaging and release is SAFC Cleveland.

       85.       Because the HEPES product manufactured and packaged at SAFC Cleveland was

subject to mold infestations, produced and packaged by improperly maintained equipment and in

violation of GMP requirements for pharmaceutical components, it is adulterated, and Defendants'

labeling is false and misleading.

       86.       Defendants sold adulterated and misbranded HEPES Components that it knew

would be used in the Pfizer COVID-19 Vaccine and that ultimately would be purchased by the

United States.     Specifically, SAFC Cleveland Order Number: 1003204605, Batch number:

CDBF4762 corresponding to 48 separate 50 kilogram drums of HEPES was released from the

SAFC Cleveland facility and sent to Pfizer on February 19, 2021.

       87.       SAFC Cleveland packaging and shipping systems noted that this Order was for the

Pfizer COVID-19 Vaccine.




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               ii.     SAFC Cleveland's Manufacture, Packaging and Sale of Tromethamine
                       and TRIS hydrochloride to Lonza for the Moderna COVID-19
                       Vaccine.


       88.     SAFC Cleveland manufactures and packages pharmaceutical components TRIS

hydrochloride and Tromethamine, USP.^ Tromethamine, USP is a buffering agent that is used to

adjust or stabilize the pH balance of a solution and can be used to treat metabolic acidosis—a

condition where the body produces too much acid or when the kidneys are not removing enough

acid from the body. TRIS hydrochloride is similar to Tromethamine, but contains additional

hydrochloride molecules and is also used to stabilize the pH balance of a solution.

       89.     Tromethamine and TRIS hydrochlroride are both ingredients in the Moderna

COVID-19 Vaccine. Specifically, Tromethamine and TRIS hydrochlroride are "acid stablizers"

in the Moderna Vaccine and ensure the stability of the vaccine after production and until it is

administered to a patient.

       90.     As described above, the Moderna COVID-19 Vaccine is critical to combatting the

COVID-19 Pandemic, and the United States has spent billions of dollars to purchase hundreds of

millions of doses of the Moderna Vaccine.


       91.     Relator has first-hand knowledge that Tromethamine and TRIS hydrochlroride,

manufactured under unsanitary conditions at SAFC Cleveland (SAFC product number RES3193T-

A7), are sold to Lonza, Ltd. and used to manufacture the Moderna COVID-19 Vaccine.




®Tromethamine, USP is often referred to as "Tris," "Tris(hydroxymethyl)aminomethane" or "2-
Aniino-2-(hydroxymethyl)." TRIS hydrochloride is often referred to as "TRIS," "TRIS HCL,"
"TRIS hydrochloride," "Tris(hydroxymethyl)aminomethane hydrochloride," "Trizma®
hydrochloride," and "Tromethane hydrochloride"




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       92.     Specifically, these Componentssold to Lonza Ltd. and ultimately the United States

were packagedin SAFC Cleveland's contaminated packagingsuites. Packaging Suite D is treated

by the mold infested air filtration system pictured above and is impacted by the other significant

GMP violations detailed supra,

       93.     Defendants sold adulterated and misbranded Tromethamine and TRJS HCL drug

components that it knew would be used in the Modema Vaccine and that ultimately would be

purchased by the United States.

       94.     Further, the Tromethamine sold to Lonza for use in the Modema Vaccine is

misbranded because Defendants' label provides that the Tromethamine was "manufactured under

appropriate controls for use as a raw material in pharma or biopharmaceutical production." This

labeling is false and misleading because the Tromethamine and TRIS HCL was actually

manufactured and packaging in a contaminated environment—^specifically Packaging Suite D at

the SAFC Cleveland plant—^pictured above.


C.     Defendants' False Statements, Knowledge of Contaminated and Non-Complaint
       Conditions and Intentional Deception to Induce the Purchase of Non-Complaint
       Components.

       95.     Defendants have specific knowledge of the unsanitary and non-complaint

conditions in their own facility. In fact, as early as 2007, the SAFC Cleveland facility was operated

by Research Organics, whose management acknowledged that it could not legally manufacture

certain products because it did not have GMP-compliant facilities.            This assessment and

acknowledgement of the lack of GMP facilities was conducted by Amy Mutere, who was then the

Site Quality Manager for Research Organics, and by Michael McCormick, a former EHS Manager

for Research Organics.




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       96.     Through his experience at SAFC Cleveland, Relator has knowledge that the SAFC

Cleveland facility has not made any improvements that would make the facility GMP compliant

since Ms. Mutere and Mr. McCormick's assessment, and the facility has only further deteriorated,

causing increasing danger of contamination of pharmaceuticals.

       97.     Defendants provide false and misleading marketing materials to their customers.

Specifically, Defendants' marketing materials including promotional PowerPoint presentations,

purport that the Cleveland facility has "upgraded its systems to cGMP standards." These false

marketing materials purport that "GMP systems include: Documentation and retention, training,

process control, laboratory control...and packaging, preservation and storage."

       98.     Defendants have continually misled their customers and the FDA by intentionally

deceiving customers and the FDA during audits and site inspections as detailed more fully, infra.

       99.     Pharmaceutical manufacturers have responsibilities to ensure that suppliers of

Components used in finished drug products are conforming to GMP processes. See 21 C.F.R. §

211.80(b). Therefore, pharmaceutical manufacturers conduct audits and site visits oftheir supplier

facilities to ensure such compliance.

       1GO.    Manufacturers offinished drug products rely on these audits and site visits—^as well

as assurances and labeling ofproducts from their suppliers—^to certify to the purchasers offinished

drug products that their supply chain is GMP compliant and that their drugs have "at all times have

been handled and stored in a manner to prevent contamination." See 21 C.F.R. § 211.80(b).

       101.    Relator has knowledge that Defendants have a practice of knowingly misleading

and misdirecting their customers and the FDA during the site audit visits.

       102.    For instance, SAFC Cleveland Quality Manager Greg Janetta is instrumental in

Defendants' efforts to mislead site auditors. Specifically, Mr. Janetta leads auditors to specific




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areas, while specifically avoiding other areas known to be problematic and that would raise

concerns of contamination.

       103.    As addressed above, one major area of concern was the mold-infested dust

collection system that circulates air in SAFC Cleveland's packaging suites. Mr. Janettainstructed

Relator that this area should be avoided when conducting site audits.

       104.    Specifically, in or around January 20-22, 2021, SAFC Cleveland customer

Boehringer Ingelheim—^which is one of the world's largest pharmaceutical companies—

conducted a virtual site audit of SAFC Cleveland to ensure that SAFC Cleveland was complying

with GMP Standards. The audit was conducted via Microsoft Teams, utilizing video and audio

recording devices. During this audit, Mr. Janetta purposely steered the Boehringer Ingelheim

inspectors away from problematic areas, including the mold infested air filtration system.

       105.    At Mr. Janetta's instruction, problematic areas were avoided. Approximately two-

thirds ofthe visual recordings were taken with the tablet PC's camera pointed to the ground. Areas

such as the mold infested dust collection system, "small" packaging rooms with non-complaint

doors, and locations Boehringer Ingelheim previously identified as opportunities for improvement

(OFI) were avoided.

       106.    If Boehringer Ingelheim (or any other customer) knew of the mold problem, it

would have deemed this a "critical" audit finding and would have refused to purchase products

from SAFC Cleveland and therefore would not have submitted or caused to be submitted claims

to federal healthcare programs for such products.

       107.    Through Mr. Janetta and other managerial employees, Relator has knowledge that

SAFC Cleveland conducts all audits and site visits in such a misleading manner.




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       108.    Due to SAFC Cleveland's pattern and practice ofmisleading auditors, its marketing

materials are false and misleading because these materials claim the facility is "[a]udited to cGMP

standards by top producers of biopharmaceutical, pharmaceuticals cell culture media and

diagnostic reagents...[and] uses cGMP guidelines to develop internal systems." These false

marketingmaterialsdo not disclosethat SAFCCleveland activelymisleadsthe auditorsby steering

them away from contaminated areas.

       109.    Moreover, SAFC Cleveland's representations that it uses cGMP guidelines to

develop internal systems is patently false as related to its internal reporting system, because

Defendants instill fear and retaliate against any employees who raise compliance concerns.

Actively discouraging internal reporting is certainly not "within GMP guidelines.

D.     Relator's Reports of Defendants' Non-Compliance,                 False Statements and
       Defendants' Knowledge of Material Violations.

       110.    As a dedicated GMP specialist, Relator was shocked to discover the dangerous and

contaminated conditions at SAFC Cleveland.       Relator was even more disturbed to learn that

Defendant had knowledge of these conditions and actively deceived its customers as well as

ultimate purchasers—including the United States and patients ingesting contaminated drugs.

       111.    The scale and impact of this deception was particularly troubling given that

Defendants were supplying Components for the Pfizer and Modema COVID-19 Vaccines

distributed to himdreds of millions of people, costing the United States billions of dollars, and

threatening the medical response to a global pandemic that had killed more than half a million

Americans and nearly 3 million people worldwide at the time of the filing of this Complaint.

       112.    Shocked, dismayed, and worried about the effects of such contamination upon the

Covid-19 vaccination effort, Relator resolved to prevent patient harm and fraud upon the United




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States by reporting the material deficiencies, non-compliance, and fraud to his supervisors within

Defendants' organization.

       113.    Initially, Relator reported the contaminated conditions, false labeling, and lack of

GMP compliance to his immediate supervisor Anthony Whitmarsh, Materials Manager of SAFC

Cleveland. Specifically, in January 2021, Relator spoke with Mr. Whitmarsh and demonstrated

Defendants' false labeling and non-compliant conditions at SAFC Cleveland by walking him

through the facility and showing him the problems detailed supra.         Mr. Whitmarsh tacitly

acknowledged the problems; but when Relator made recommendations of how to cure the

problems and institute compliance, Mr. Whitmarsh simply said: "I didn't hire you to do these

things." Thereafter, he ignored Relator's concerns.

       114.    After making these reports, other staff, including Paul Mares—2lPackaging Support

Specialist at SAFC Cleveland and Victor Lewis—^Packaging Supervisor at SAFC Cleveland noted

that the contaminated conditions at SAFC Cleveland had long been recognized by management

yet nothing was ever done to correct the issues.

       115.    Relator's verbal reports of the unsanitary conditions to on-site management were

ignored. Therefore, on February 5,2021, Relator sent an email to SAFC Cleveland Site Director

Eric Tackett and to MilliporeSigma and Merck Executives, including: Dieter Hofher, Head of

APIs, Excipients and Cell Media Technology (Mr. Tackett's direct supervisor); Robert Nass, Vice

President and Head of Quality and Regulatory Management; Yvonne Albert, Head of Human

Resources; and Christos Ross, Head of Integrated Supply Chain Operations and Interim CEO of

MilliporeSigma.

       116.    In this email, Relator forewarned MilliporeSigma that the mold-infested air

filtration system at SAFC Cleveland could result in criminal and False Claims Act liability and




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provided a linkto a Department of Justice PressRelease detailing a dual criminal and False Claims

Act settlementregarding these same issues, which was settled for over $18 Million (a link to this

Press Release is provided at fh. 2). In this email, Relator highlighted specific provisions of the

SAFC Cleveland Standard Operating Procedure that were being violated and made

recommendations to replace the air filtration system or to at least increase the frequency of

cleanings. Relator provided images of the mold-infested air filtration system to substantiate his

reports, and contrastedthe photos with the less severe mold that led to the referenced $18 million

False Claims Act settlement. Relator also provided images of the false labeling affixed to SAFC

Cleveland products—^rendering these products misbranded.

       117.    Also on February 5, 2021, Relator submitted a formal report through the

MilliporeSigma "Speak Up" system—^i.e., MilliporeSigma's internal compliance reporting system

that purports to encourage employees to internally report violations.

       118.    In this February 5,2021 Speak Up Report, Relator informed the Corporate level of

MilliporeSigma that he previously had informed SAFC Cleveland Site Director Eric Tackett of

the inadequate training, deficient written procedures, and fear of reprisal at SAFC Cleveland.

Relator also reported that he had informedMr. Tackett that the air filtration system circulatingair

through Packaging Suites contained an "abundance of mold" and that "conditions at the site have

caused impure and potentially unsafe products to enter interstate commerce."

       119.    Relator went on to recommend that in order to prevent further contamination from

the mold infested air filtration system SAFC Cleveland must "immediately stop packaging

activities, upgrade the dust collection system and introduce adequate HEPA filtration to treat the

air within the rooms."




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       120.    Relator further recommended that SAFC Cleveland "[i]ntroduce more frequent

cleaning and bioburden swab test of the duct work and dust collection system." Relator also

informed MilliporeSigma, viathe Speak Report, that hisprevious recommendations to on-site staff

on these issues had been ignored.

       121.    Relator's February 5 Speak Up Report forewarned "[w]ithout adequate bioburden

controls in place to prevent transmission of mold spores and disease causing pathogens from dust

collectors to packaged product—^the company is willfully and negligently—^nullifying GMP

controls put in place by our supplier...The conditions in Cleveland are a risk to patient safety."

       122.    Relator also informed MilliporeSigma that misbranded drugs were being

distributed because "[t]he labeling of PharmaGrade product as: 'Manufactured under appropriate

GMP controls for pharmaceuticalor biopharmaceutical production' is...indisputably false."

       123.    On February 6, 2021, Relator forwarded, via email, this February 5, 2021 Speak

Up Report to this same group of executives he emailed on February 5.

       124.    On February 8, 2021, Relator sent another email to Yvonne Albert, Robert Nass,

and Christos Ross as well as to the CEO of Merck Group, Stafan Oschmann. This email informed

Defendants' executives:


       I reported conditions at my site that pose a risk to patient safety, customer
       confidence and shareholder value. The conditions have been communicated to our
       Site Director and ignored. Packaging operations continue in rooms identified as
       beingunfit for suchtasks. Unlesschange is implemented, it will becomeincumbent
       upon me to notify regulators.

        125.   In response to Relator's formal reports of contaminated conditions, non-

compliance, andculture of ignoring such concerns, MilliporeSigma andspecifically Dieter Hofiier

on February 11,2021 acknowledged that Relator's concerns were validandthat SAFC Cleveland

needed significant facility, equipment, and process improvements. Nevertheless, Mr. Hofher and



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MilliporeSigma refused to halt operations and continued manufacturing, packaging, and shipping

adulterated and misbranded components.

       126.   On February 22, 2021, Relator sent his supervisors a report demonstrating the

patient harm and dangerous situations caused by the outdated and improperly maintained

equipmentand facilities at SAFC Cleveland. Specifically, SAFC Cleveland customer Genentech

found a large bolt in the HEPES product mix that was produced and packaged at SAFC Cleveland.

Relator recognized and informed Merck Group Executives Dieter Hofher and Arme Lombard that

the bolt was a specific design ofthe SAFC Cleveland facility's packaging equipment and therefore

the bolt found by Genentech likely came from SAFC Cleveland's site. Relator also noted to

Hofher and Lombard that this incident was exemplary of the problems caused by the violations at

SAFC Cleveland that he had previously reported.

       127.   On February 28, 2021, Relator submitted another "Speak Up" Report detailing

SAFC Cleveland's violations of the Food Drug and Cosmetic Act, specifically 21 U.S.C. 331—

which prohibits the introduction ofadulterated and misbranded drugs into interstate commerce. In

this report, Relator provided the specific violations occurring at SAFC Cleveland and referenced

specific false marketing materials that falsely purported the SAFC Cleveland facility to be GMP

Compliant.    Relator also reported that he had previously referenced these violations in

communications with Merck Executive Deiter Hofner.

       128.   On March 3, 2021, Relator informed MilliporeSigma Head of Quality Operations

Jane Findlay precisely how Millipore's response to his concerns was uninformed and misplaced.

Ms. Findlay, who is based in the United Kingdom, did not have personal knowledge of the

conditions at SAFC Cleveland. Relator informed Ms. Findlay that she should not rely on self-




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serving reports regarding SAFC Cleveland because Quality employees on-sitehave expressed "an

interest in obscuring the true state of Cleveland's operations.. .due to job security concerns."

          129.   Relator also cogently refuted Ms. Findlay's claims that operations at SAFC

Cleveland were sufficient because the site is independently audited. In doing so, Relator informed

Ms. Findlay of his experience with SAFC Cleveland's intentional manipulation of audits, stating:

"[Relator] has been a representative member of leadership in said audits.. .during these audits and

at the direction of Site Leadership, instructions to deliberately avoid areas within the plant were

communicated."


          130.   MilliporeSigma understood Relator's Speak Up reports and the violations reported.

For instance, after Relator's initial Speak Up complaint, MilliporeSigma decided to stop packaging

L-Tyrosine as GMP Complaint and developed new labeling so its product was no longer

misbranded. In response, Relator informed MilliporeSigma that many more improvements were

needed.


E.        Defendants' Retaliation Against Relator in Violation of 31 U.S.C. 3730(h).

          131.   On the same day, Relator submitted this February 28, 2021 Speak Up Report, he

was placed on administrative leave by Defendants in retaliation for his reports and efforts to

prevent false claims from being submitted.

          132.   On March 3, 2021, Relator was terminated from his employment with

MilliporeSigma in clear retaliation for his efforts to prevent false claims from being submitted.

Relator's termination came via a Microsoft Teams Meeting with Melissa Reed, Millipore Sigma's

Head of Human Resources North America and with Dieter Hofher. These two individuals were at

the forefront of MilliporeSigma's response to Relator's concerns, interfaced with Relator

regarding his reports, and then personally terminated him for raising such concerns.




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                                          COUNT ONE
               DEFENDANTS CAUSED TO BE PRESENTED FALSE CLAIMS
                            PROHIBITED BY 31 U.S.C. §3729(a)(l)(A)

        133.    Relator adopts and incorporates paragraphs 1-132 as though fully set forth herein.

        134.    By and through the fraudulent schemes described herein, Defendants knowingly -

by actual knowledge or in deliberate ignorance or with reckless disregard of the truth or falsity of

the information -caused to be presented false or fraudulent claims to the United States for payment

or approval, to wit:

       a) Defendants operated a pharmaceutical component manufacturing and packaging
          facility that was unsanitary, contaminated and not in compliance with applicable GMP
          regulations, thereby causing its drugs—including HEPES sold directly to Pfizer for use
             in the Pfizer-BioNTech COVID-19 Vaccine and TRIS hydrochloride and
             Tromethamine, USP sold to Lonza, Ltd. for use in the Modema mRNA-1273 COVID-
             19 Vaccine —^to be adulterated in violation of 21 U.S.C. § 351.

       b) Defendants misled its customers and the FDA through false and misleading labeling
          and marketing materials, rendering its drugs—^including HEPES sold directly to Pfizer
          for use in the Pfizer-BioNTech COVID-19 Vaccine and TRIS hydrochloride and
             Tromethamine, USP sold to Lonza, Ltd. for use in the Modema mRNA-1273 COVID-
             19 Vaccine—^to be misbranded in violation of 21 U.S.C. § 352.

       c) Defendants misled its customers and the FDA through deceptive tactics to prevent
          customer and FDA auditors from discovering that its SAFC Cleveland facility was
          unsanitary, contaminated and not in compliance with applicable GMP regulations.

       d) Defendants distributed its adulterated and misbranded drugs—^including HEPES sold
          directly to Pfizer for use in the Pfizer-BioNTech COVID-19 Vaccine and TRIS
          hydrochloride and Tromethamine, USP sold to Lonza, Ltd. for use in the Modema
          mRNA-1273 COVID-19 Vaccine —^throughout the United States in violation of 21
             U.S.C. §331.

        135.    Defendants' false labeling and false representations induced Defendants' customers

to falsely certify that dmgs—^including the Pfizer-BioNTech COVID-19 Vaccine and Modema

mRNA-1273 COVID-19 Vaccine —^was at all times handled and stored in a manner to prevent

contamination and was manufactured, stored and packaged under safe and GMP Compliant

controls.




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        136.      Defendants' false labeling, false representations and the false certifications made

by Defendants customers, including Pfizer and Modema, were material to the United States'

decision to purchase falsely labeled and adulterated drugs.

        137.      Based on these false representations, including those false representations made by

Pfizer and Modema, the United States paid false claims for pharmaceutical products including for

the Pfizer-BioNTech COVID-19 Vaccine and Modema mRNA-1273 COVID-19 Vaccine vaccine

that it would not have paid if not for Defendants' false representations.

        138.      Defendants' fraudulent actions described herein have resulted in damage to the

United States equal to the amount paid or reimbursed to Defendants and others by the United States

through HHS and DOD for such false or fi:audulent claims.

                                            COUNT TWO
 DEFENDANTS MADE OR USED FALSE STATEMENTS OR RECORDS MATERIAL
               TO A FALSE CLAIM PROHIBITED BY 31 U.S.C. §3729(a)(l)(B)

        139.      Relator adopts and incorporates paragraphs 1-132 as though fully set forth herein.

        140.      By and through the fraudulent schemes describedherein. Defendants knowingly -

by actual knowledge or in deliberate ignorance or with reckless disregard of the tmth or falsity of

the information ~ made, used, or caused to be made or used, false records or statements material

to a false or fraudulent claim or to get a false or fraudulent claim paid or approved by the United

States, to wit:

        a) Defendants made and used false and misleading labels that falsely claimed its products
           were manufactured, stored and packaged in accordance with GMP and ISO standards;


        b) Defendants made and used false and misleading labels that falselyclaimed its products
           were manufactured, stored and packaged in accordance with GMP and ISO standards.




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       141.    The false records or statements described herein were material to the false claims

submitted or caused to be submitted by Defendants customers, including Pfizer and Modema, to

the United States.


       142.    In reliance upon Defendants' false statements and records, the United States paid

false claims submitted by Defendants' customers that it would not have paid if not for those false

statements and records.


       143.    Defendants fraudulent actions described herein have resulted in damage to the

United States equal to the amount paid or reimbursed by the United States for such false or

fraudulent claims.



                                        COUNT THREE
                     "REVERSE FALSE CLAIMS" UNDER 3729(a)(1)(G)

       144.    Relator adopts and incorporates paragraphs 1-132 as though fully set forth herein.

        145.   By and through the fraudulent schemes described herein. Defendants knowingly -

by actual knowledge or in deliberate ignorance or with reckless disregard of the truth or falsity of

the information —made, used, or caused to be made or used, false records or statements material

to an obligation to pay or transmit money or property to the United States, or knowingly concealed

or knowingly and improperly avoided an obligation to pay or transmit money or property to the

United States, to wit:

       a) Defendants recognized that it had caused adulterated and misbranded drugs to enterthe
           interstate commerce and be purchased by the United States in violation of the Food,
           Drug and Cosmetics Act;



        b) Defendants tooknoaction to satisfy its obligations to inform its customers ortheUnited
           States that it had purchased adulterated and misbranded drugs;




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       c) Defendants took no action to repay or refund its customers or the United States despite
          knowledge that Defendants had fraudulently induced the purchase of adulterated and
          misbranded drugs but instead continued to manufacture and package drugs in an
          unsanitary and non-compliant environment and continued introducing these adulterated
          and misbranded drugs into interstate commerce.

       146.    As a result of Defendants' fraudulent conduct, the United States has suffered

damage in the amount of funds that belong to the United States but are improperly retained by

Defendants.



                                         COUNT FOUR
                          RETALIATION UNDER 31 U.S.C. §3730(h)(l)

       147.    Relator adopts and incorporates paragraphs 1-132 as though fully set forth herein.

       148.    Defendants knowingly threatened, harassed, discriminated against, and discharged

Relator because of lawful acts done by Relator in efforts to stop or prevent violations of the False

Claims Act.


       149.    As a result of Defendants' retaliatory conduct, Relator has suffered damages of

extended periods of lost pay, irreparable harm to his personal and professional reputation, undue

hardship forced upon Relator and his family, and extended infliction of emotional distress upon

Relator and his family.


                                    PRAYER FOR RELIEF


       WHEREFORE, Relator David Stonebrook, on behalf of himself and the United States of

America, demands judgment against Defendants as follows:

       A.      That this Court enter judgment against the Defendants in an amount equal to three

times the amount of damages the United States has sustained due to Defendants' actions, plus a

civil penalty not lessthan $5,000 and not more than $10,000, as adjusted for inflation by the




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Federal Civil Penalties Inflation Adjustment Act of 1990, for each violation of the False Claims

Act;

       B.      That the Court enter judgment against Defendants for retaliation pursuant to 31

U.S.C. § 3730(h) and award Relator two times his back pay, with interest, and compensation for

special damages including litigation costs and reasonable attorneys' fees;

       C.      That Relator be awarded the maximum amount allowed pursuant to § 3730(d) of

the False Claims Act;

       D.      That Relator be awarded all costs, attomeys' fees, and litigation expenses;

       E.      That the United States and Relator receive all relief, both at law and in equity, to

which they may be reasonably entitled; and

       F.      That the Court order any other relief that it deems to be appropriate and just.




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                               DEMAND FOR A JURY TRIAL


        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

trial by jury.

                                            Respectfully submitted,

Dated: May 25, 2021                          /s/SonvaA. Rao
                                            Sonya A. Rao (BBO# 647170)
                                            Morgan Verkamp LLC
                                            35 East 7th Street, Suite 600
                                            Cincinnati, OH 45202
                                            Tel: (513) 651-4400
                                            Fax: (513) 651-4405
                                            Email: sonya.rao@morganverkamp.com

                                            James F. Barger Jr.
                                            Georgia Bar No. 843064
                                            Frohsin Barger & Walthall
                                            100 Main Street
                                            Saint Simons Island, Georgia 31522
                                            Tel: (205) 933-4006
                                            Email: jim@ffohsinbarger.com

                                            Counselfor Relator

                                      DO NOT SERVE
             FALSE CLAIMS ACT COMPLAINT FILED UNDER SEAL




                                                                                                42
